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  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY

  Caption in Compliance with D.N.J. LBR 9004-   BROWN RUDNICK LLP
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     Official Committee of Talc Claimants                   Official Committee of Talc Claimants



     In Re:                                                 Chapter 11

     LTL MANAGEMENT, LLC,1                                  Case No.: 21-30589 (MBK)

                             Debtor.                        Honorable Michael B. Kaplan


      MODIFIED LOCAL FORM CERTIFICATION OF NO OBJECTION REGARDING
      MONTHLY FEE STATEMENT OF MILLER THOMSON LLP LOCAL COUNSEL
       TO OFFICIAL COMMITTEE OF TALC CLAIMANTS I FOR THE PERIOD OF
                       APRIL 2022 DOCUMENT NO. 2379


              The Court authorized, under D.N.J. LBR 2016-3(a), the Order Establishing Procedures for

 Interim Compensation and Reimbursement of Retained Professionals [Dkt. No. 761] and Order

 Modifying Order Establishing Procedures for Interim Compensation and Reimbursement of

 Retained Professionals [Dkt. No. 870], compensation to professionals on a monthly basis. Under

 the Order Modifying Order Establishing Procedures for Interim Compensation and

 Reimbursement of Retained Professionals [Dkt. No. 870], objections to the Monthly Fee Statement

 filed on May 31, 2022 were to be filed and served not later than June 14, 2022.




 1
   The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is 501 George
 Street, New Brunswick, New Jersey 08933.

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         I, Daniel M. Stolz, Esq. certify that, as of June 15, 2022, I have reviewed the court’s docket

 in this case and no answer, objection, or other responsive pleading to the above Monthly Fee

 Statement has been filed. Pursuant to D.N.J. LBR 2016-3, payment shall be made to the applicant

 upon the filing of this Certification.



 Date: June 15, 2022                                    /s/ Daniel M. Stolz        .
                                                        DANIEL M. STOLZ




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